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                                           UNITED STATES FEDERAL COURT
                                          SOUTHERN DISTRICT OF NEW YORK


        RODNEY JONES,

                          Plaintiff,                         Case Number: 24-1457
        v.
                                                             NOTICE OF VOLUNTARY DISMISSAL
        SEAN COMBS,                                          PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)
        JUSTIN DIOR COMBS,
        ETHIOPIA HABTEMARIAM,
        LUCIAN CHARLES GRAINGE,
        KRISTINA KHORRAM,
        CHALICE RECORDING STUDIOS,
        LOVE RECORDS,
        MOTOWN RECORDS,
        UNIVERSAL MUSIC GROUP,
        COMBS GLOBAL ENTERPRISES,
        JOHN and JANE DOES 1-10 and
        ABC CORPORATIONS. 1-10
                    Defendants.



                  NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

                Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the Plaintiff Rodney
        Jones hereby gives notice that the above-captioned action is voluntarily dismissed, with prejudice,
        against Defendant Ethiopia Habtemariam only.


        Dated: March 23, 2024
        Brooklyn, New York

                                                               T. A. BLACKBURN LAW, PLLC.


                                                               By:
                                                               Tyrone A. Blackburn, Esq.




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